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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 6, 2021
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

     In re:                             §                                                Case No. 19-34054-SGJ-11
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §                                                Chapter 11
                                        §
          Reorganized Debtor.           §
                                        §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                        §
          Plaintiff,                    §
                                        §
     v.                                 §
                                        §                                               Adversary No.: 21-03004-sgj
     HIGHLAND CAPITAL MANAGEMENT        §
     FUND ADVISORS, L.P.                §
                                        §
          Defendant.                    §

              ORDER APPROVING STIPULATION AND AGREED ORDER GOVERNING
                        DISCOVERY AND OTHER PRE-TRIAL ISSUES

                Upon consideration of the Stipulation and Agreed Order Governing Discovery and Other

     Pre-Trial Issues [Docket No. 65] (the “Stipulation”) 1 entered into between Highland Capital



     1
         Capitalized terms not otherwise defined in this Order shall have the meaning ascribed to them in the Stipulation.
                                                               -1-
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  Management, L.P., the reorganized debtor 2 (“Highland”) in the above-captioned chapter 11 case

  (“Bankruptcy Case”) and the plaintiff in the above-captioned adversary proceeding (the

  “Adversary Proceeding”), and Highland Capital Management Fund Advisors, L.P. (“HCMFA”,

  and together with Highland, the “Parties”), it is HEREBY ORDERED THAT:

           1.       The Stipulation, a copy of which is attached hereto as Exhibit A, is APPROVED.

           2.       The Stipulation supersedes any prior stipulation or scheduling order governing the

  Adversary Proceeding.

           3.       The Parties shall abide by the following pretrial schedule (the “Joint Pretrial

  Schedule”) pursuant to the Stipulation:

           x        Fact depositions will take place between October 1 and October 22, 2021.

           x        Expert designations and disclosures of all opinions, and the bases therefor, will be
                    made by October 29, 2021, and experts will be deposed between October 29,
                    2021 and November 19, 2021.

           4.       The Parties agree that discovery taken in this case will be consolidated with

  discovery taken in the following adversary proceedings, and all discovery in each of the adversary

  proceedings will be treated as if it was taken in all of the adversary proceedings listed below so

  that each witness will only need to be deposed once and documents produced in any of the

  proceedings are usable as if received in every other proceeding:

           x        Highland Capital Management, L.P. v. James D. Dondero, Adv. Pro. No. 21-
                    03003;

           x        Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Pro. No.
                    21-03005;


  2
    On February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming the Fifth Amended Plan of
  Reorganization (as Modified) and (ii) Granting Related Relief [Docket No. 1943] (the “Confirmation Order”) which
  confirmed the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P., as modified (the
  “Plan”). The Plan went Effective (as defined in the Plan) on August 11, 2021, and Highland is the Reorganized Debtor
  (as defined in the Plan) since the Effective Date. See Notice of Occurrence of Effective Date of Confirmed Fifth
  Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No. 2700].


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           x        Highland Capital Management, L.P. v. Highland Capital Management Services,
                    Inc., Adv. Pro. No. 21-03006; and

           x        Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint
                    Real Estate Partners, LLC), Adv. Pro. No. 21-03007.

           5.       The Joint Pretrial Schedule set forth in this Order shall only be modified in writing

  signed by the Parties or upon entry of an order of the Court entered upon notice to the Parties.

           6.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

  governing the interpretation and enforcement of this Order.

                                            ###End of Order###




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                                  EXHIBIT A




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  Davor Rukavina, Esq.
  Texas Bar No. 24030781
  Julian P. Vasek, Esq.
  Texas Bar No. 24070790
  MUNSCH HARDT KOPF & HARR, P.C.
  500 N. Akard Street, Suite 3800
  Dallas, Texas 75202-2790
  Telephone: (214) 855-7500
  Facsimile: (214) 978-4375
  Counsel for Defendant Highland Capital
  Management Fund Advisors, L.P.

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
  In re:                                  §         Case No. 19-34054-SGJ-11
                                          §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §              Chapter 11
                                          §
         Debtor.                          §
                                          §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                          §
         Plaintiff.                       §
                                          §
  v.                                      §
                                          §        Adversary No.: 21-03004-sgj
  HIGHLAND CAPITAL MANAGEMENT             §
  FUND ADVISORS, L.P.                     §
                                          §
         Defendant.                       §

              STIPULATION AND AGREED ORDER GOVERNING DISCOVERY
                           AND OTHER PRE-TRIAL ISSUES

           This stipulation and agreed order WKH ³Stipulation´  is entered into between Highland

  &DSLWDO0DQDJHPHQW/3 WKH³Debtor´ DQGHighland Capital Management Fund Advisors, L.P.

  ³HCMFA´ 7KH'HEWRUDQGHCMFA DUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDVWKH³Parties´




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                                               RECITALS

           WHEREAS, on April 13, 2021, HCMFA filed a Motion to Withdraw the Reference.

           WHEREAS, on July 8, 2021, the Bankruptcy Court filed its Report and Recommendation

  to District Court Proposing that it (A) Grant Defendant's Motion to Withdraw the Reference at

  Such Time as Bankruptcy Court Certifies that Action is Trial Ready; and (B) Defer Pretrial

  Matters to Bankruptcy Court [Docket No. 50] (the "Report").

           WHEREAS, the Parties intend to complete fact and expert discovery in this adversary

  proceeding as governed by this Stipulation.

                                             STIPULATION

           NOW, THEREFORE, IN CONSIDERATION OF THE FOREGOING, THE

  PARTIES HEREBY AGREE AND STIPULATE AS FOLLOWS:

           1.       This Stipulation supersedes any prior stipulation or scheduling order governing the

  above-referenced adversary proceeding.

           2.       The Parties agree to the following deadlines regarding discovery and other pre-trial

  deadlines:

           x        Fact depositions will take place between October 1 and October 22, 2021.

           x        Expert designations and disclosures of all opinions and the bases therefor, will be
                    made by October 29, 2021, and experts will be deposed between October 29,
                    2021 and November 19, 2021.

           3.       The Parties agree that discovery taken in this case will be consolidated with

  discovery taken in the following adversary proceedings and all discovery in each of the adversary

  proceedings will be treated as if it was taken in all of the adversary proceedings listed below, so

  that each witness will only need to be deposed once and documents produced in any of the

  proceedings are usable as if received in every other proceeding:



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           x        Highland Capital Management, L.P. v. James D. Dondero, Adv. Pro. No. 21-
                    03003;

           x        Highland Capital Management, L.P. v. NexPoint Advisors, L.P., Adv. Pro. No.
                    21-03005;

           x        Highland Capital Management, L.P. v. Highland Capital Management Services,
                    Inc., Adv. Pro. No. 21-03006 and

           x        Highland Capital Management, L.P. v. HCRE Partners, LLC (n/k/a NexPoint
                    Real Estate Partners, LLC), Adv. Pro. No. 21-03007.

           IT IS SO STIPULATED.




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  Dated: August 27, 2021

  CONSENTED AND AGREED TO BY:


   /s/ Davor Rukavina                      /s/ John A. Morris
   Davor Rukavina, Esq.                    John A. Morris
   Texas Bar No. 24030781                  NY Bar No. 266326
   Julian P. Vasek, Esq.                   (pro hac vice)
   Texas Bar No. 24070790                  PACHULSKI STANG ZIEHL & JONES LLP
   MUNSCH HARDT KOPF & HARR, P.C.          10100 Santa Monica Blvd., 13th Floor
   500 N. Akard Street, Suite 3800         Los Angeles, CA 90067
   Dallas, Texas 75202-2790                Telephone: (310) 277-6910
   Telephone: (214) 855-7500               Email: jmorris@pszjlaw.com
   Facsimile: (214) 978-4375
   Email: drukavina@munsch.com             ATTORNEYS FOR DEBTOR
   Email: jvasek@munsch.com                HIGHLAND CAPITAL MANAGEMENT,
                                           L.P.
   ATTORNEYS FOR DEFENDANT
   HIGHLAND CAPITAL MANAGEMENT
   FUND ADVISORS, L.P.




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                                  CERTIFICATE OF SERVICE

          I certify that on August 27, 2021, a true and correct copy of the foregoing document was
  VHUYHGYLDWKH&RXUW¶VElectronic Case Filing system to the parties that are registered or otherwise
  entitled to receive electronic notices in this case.

                                                        /s/ Julian P. Vasek
                                                        Julian P. Vasek




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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03004-sgj
Highland Capital Management Fund Advisor,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Sep 07, 2021                                               Form ID: pdf001                                                            Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 09, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996
dft                    + Highland Capital Management Fund Advisors, L.P., K&LGates LLP, c/o Stephen G. Topetzes, 1600 K Street, NW, Washington, DC
                         20006-2806

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Sep 07 2021 22:58:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Sep 07 2021 22:58:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Sep 07 2021 22:58:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 09, 2021                                            Signature:           /s/Joseph Speetjens
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District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Sep 07, 2021                                           Form ID: pdf001                                                       Total Noticed: 5



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 7, 2021 at the address(es) listed
below:
Name                             Email Address
Davor Rukavina
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. drukavina@munsch.com

Julian Preston Vasek
                                 on behalf of Defendant Highland Capital Management Fund Advisors L.P. jvasek@munsch.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Melissa S. Hayward
                                 on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 6
